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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                          §       CHAPTER 11
                                                §
4 WEST HOLDINGS, INC., et al.                   §       CASE NO. 18-30777
                                                §       (Joint Administration Requested)
           DEBTORS.                             §

                 NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

           PLEASE TAKE NOTICE that the undersigned counsel hereby appears as counsel for

SC-GA 2018 Partners, LLC and requests, pursuant to Rules 2002, 9007 and 9010(b) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), that all notice given in the

above-captioned case and all papers served or required to be served in the above-captioned case,

and any cases consolidated therewith, be given to and served upon the undersigned attorney, at

the address set forth below:

                                        James P. Muenker
                                         NELIGAN LLP
                                   325 N. St. Paul, Suite 3600
                                      Dallas, Texas 75201
                                   Telephone: (214) 840-5300
                                    Facsimile: (214) 840-5301
                                   jmuenker@neliganlaw.com

           PLEASE TAKE FURTHER NOTICE that the foregoing request includes no only the

notices and papers referred to in the Bankruptcy Rules, but also includes, without limitation,

order and notices of any application, motion, petition, pleading, request, complaint, or demand,

whether formal or informal, whether written or oral and whether transmitted or conveyed by

mail, delivery, telephone or otherwise.




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Dated: March 7, 2018                            Respectfully submitted,

                                                NELIGAN LLP

                                                 /s/ James P. Muenker
                                                James P. Muenker
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                                                jmuenker@neliganlaw.com
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                                                Dallas, Texas 75201
                                                Telephone: (214) 840-5300
                                                Facsimile: (214) 840-5301

                                                COUNSEL FOR SC-GA 2018 PARTNERS, LLC



                                   CERTIFICATE OF SERVICE

           The undersigned hereby certifies that a true and correct copy of the foregoing was served

via this Court’s ECF notification system.


                                                 /s/ James P. Muenker
                                                James P. Muenker




NOTICE OF APPEARANCE                                                                        PAGE 2

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